Case 24-80333 Document 12 Filed in TXSB on 11/17/24 Page 1lof5

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United States Bankruptcy Court for the:
Southern District of Texas

Case number (if known) 24-803330H2-11 Chapter__11 Bock if this is an

amended filing

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Henry West NM Coast, LLC

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor's federal Employer XX-XXXXXXX
Identification Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place of

business

Attn: Vinh Truong - Manager

1209 Mountain Road Place NW

Number Street Number Street
Albuquerque, NM 87110
City State ZIP Code City State ZIP Code
. Location of principal assets, if different from principal
Bernalillo place of business
County

Number Street

City State ZIP Code

5. Debtor's website (URL)

6. Type of debtor Q) Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

O Partnership (excluding LLP)

Wi other. Specify: Limited Liability Company

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page
Case 24-80333 Document 12 Filed in TXSB on 11/17/24 Page 2of5

Debtor Henry West NM Coast, LLC

Name

7. Describe debtor's business

8. Under which chapter of the

Bankruptcy Code is the
debtor tiling?

9. Were prior bankruptcy cases filed

by or against the debtor within the
last 8 years?

If more than 2 cases, attach a

separate list.

10. Are any bankruptcy cases pending
or being filed by a business partner
or an affiliate of the debtor?

List all cases. If more than 1, attach a
separate list.

Official Form 201

Case number (if known)

A. Check one:

UHealth Care Business (as defined in 11 U.S.C. § 101(27A))
wf Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
QrRailroad (as defined in 11 U.S.C. §101(44))

U) stockbroker (as defined in 11 U.S.C. § 101(53A))

Ci commodity Broker (as defined in 11 U.S.C. § 101(6))
Uclearing Bank (as defined in 11 U.S.C. §781(3))

()None of the above

B. Check all that apply:
() tax-exempt entity (as described in 26 U.S.C. §501)

O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

OQ)

Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes .

5 3 1 ~«1

Check one:

Q) Chapter 7

Q) Chapter 9

wi Chapter 11. Check all that apply:

Q) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)

are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
L) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
proceed under Subchapter V of Chapter 11.

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the

Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

L) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

Ooo vo

Q) Chapter 12

MWNo

Lyes. District When Case number
MM /DD/YYYY
District When Case number
MM /DD/YYYY
W No
Q)ves. Debtor Relationship
District When

MM/DD/YYYY
Case number, if known

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page
Case 24-80333 Document 12 Filed in TXSB on 11/17/24 Page 3 of 5

Debtor Henry West NM Coast, LLC

Name

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real

property or personal property
that needs immediate

attention?

Case number (if known)

Check all that apply:

wf Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

la bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

WNo

Cyes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)

CO it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

It needs to be physically secured or protected from the weather.

Q)
Q) It includes perishable goods or assets that could quickly deteriorate or lose value without attention

(for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
options).

— Other

Where is the property?
Number Street

City State ZIP Code
Is the property insured?

LJNo

ClYes. insurance agency

Contact name

Phone

oa) Statistical and administrative information

13. Debtor’s estimation of
available funds?

14. Estimated number of
creditors

15. Estimated assets

Official Form 201

Check one:
CFunds will be available for distribution to unsecured creditors.

wf After any administrative expenses are paid, no funds will be available for distribution to unsecured
creditors.

M1490) 50-99 QI 1,000-5,000 4) 5,001-10,000 © 25,001-50,000 O 50,000-100,000
Q) 100-199 O 200-999 LI 10,001-25,000 CL) More than 100,000

LI $0-$50,000 Mi $1,000,001-$10 million LI $500,000,001-$1 billion

C) $50,001-$100,000 L) $10,000,001-$50 million CY $1,000,000,001-$10 billion

LC) $100,001-$500,000 CY $50,000,001-$100 million LI $10,000,000,001-$50 billion
C) $500,001-$1 million Q) $100,000,001-$500 million More than $50 billion

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page :
Case 24-80333 Document 12 Filed in TXSB on 11/17/24 Page 4of5

Debtor Henry West NM Coast, LLC

Name

16. Estimated liabilities

QO) $0-$50,000

Q) $50,001-$100,000
QO) $100,001-$500,000

L) $500,001-$1 million

cent Request for Relief, Declaration, and Signatures

wi $1,000,001-$10 million

Q) $10,000,001-$50 million
Q) $50,000,001-$100 million

Q) $100,000,001-$500 million

Case number (if known)

L) $500,000,001-$1 billion

LY $1,000,000,001-$10 billion
Q) $10,000,000,001-$50 billion

() More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor

18. Signature of attorney

= The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true

and correct.

Executed on 41/17/2024

MM/ DD/ YYYY

xX Is| VINH TRUONG

| declare under penalty of perjury that the foregoing is true and correct.

VINH TRUONG

Signature of authorized representative of debtor

Title MANAGER

Is! Robert Vilt

Signature of attorney for debtor

Robert Vilt

Printed name

Date 11/17/2024

MM/ DD/ YYYY

Official Form 201

Printed name

Vilt Law, PC

Firm name

5177 Richmond Ave 1142

Number Street

Houston

TX 77056

City

(713) 840-7570

Contact phone

00788586

State ZIP Code

clay@viltlaw.com

Email address

TX

Bar number

State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page:
Case 24-80333 Document 12 Filed in TXSB on 11/17/24 Page5of5
Official Form 201A (12/15)

[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
this Exhibit "A" shall be completed and attached to the petition.]

[Caption as in Form 416B]

Attachment to Voluntary Petition for Non-Individuals Filing for
Bankruptcy under Chapter 11

1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is

2. The following financial data is the latest available information and refers to the debtor's condition on

a. Total assets $4,794,828.00
b. Total debts (including debts listed in 2.c., below) $3,880,080.13

c. Debt securities held by more than 500 holders

Approximate
number of
holders:

secured unsecured L) subordinated L)

Q)
secured (J) unsecured () subordinated LJ
L)

secured unsecured L) subordinated L)

secured [) unsecured C) subordinated L)

secured [) unsecured L) subordinated CL)

d. Number of shares of preferred stock

e. Number of shares common stock

Comments, if any:

3. Brief description of debtor's business Real Estate Investments

4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
securities of debtor: .

Official Form 201A Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
